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                      UNITED STATES DISTRICT COURT
                       DISTRICT OF SOUTH DAKOTA
                            WESTERN DIVISION


    UNITED STATES OF AMERICA,              CR 08-50100-01

                    Plaintiff,             RESPONSE TO DEFENDANT’S
                                           SUPPLEMENT TO PRO SE MOTION
      vs.                                  FOR COMPASSIONATE RELEASE
                                           UNDER 18 U.S.C. § 3582(c)(1)(A)
    KEVIN WALKING EAGLE,                   (DOCKETS 390, 395)

                    Defendant.


       The United States, by and through Assistant United States Attorney

Heather Sazama, files this response opposing Defendant’s Pro Se Motion for

Compassionate Release and Supplement to Pro Se Motion for Compassionate

Release Under 18 U.S.C. § 3582(c)(1)(A)(i).

                           FACTUAL BACKGROUND

       Defendant Kevin Walking Eagle is serving a 240-month sentence at

Federal Correctional Institution (“FCI”) Englewood, in Littleton, Colorado1, with

an anticipated release date of October 31, 2025, for his conviction of engaging in

a Continuing Criminal Enterprise, in violation of 21 U.S.C. §§ 848(a) and 848(c).

https://www.bop.gov/inmateloc/ (BOP register number 10423-273); Doc. 285

at 1; Doc. 392 at 801. Defendant is 47 years old. As of July 31, 2020, he has

served approximately 58.9% of his 240-month sentence.          Doc. 392 at 802.


1 FCI Englewood has had five inmates and zero employees diagnosed with
COVID-19. Four inmates and one employee have been listed as recovered from
COVID-19, and no inmates or staff have died as a result of COVID-19.
https://www.bop.gov/coronavirus/ (last accessed July 29, 2020).
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Defendant’s 240-month sentence reflects the statutorily-required mandatory

minimum sentence for his crime. 21 U.S.C. § 848(a).

      Defendant seeks relief based on compassionate release, pursuant to 18

U.S.C. § 3582(c)(1)(A)(i). Docs. 390, 395. Defendant asks the Court to reduce

his sentence to time served and, if the Court deems necessary, to a period of

home confinement as a condition of supervised release.2 Doc. 395 at 1. The

United States opposes Defendant’s motion.

                                  ARGUMENT

I.    DEFENDANT’S MOTION SHOULD BE DENIED FOR FAILURE TO
      EXHAUST ADMINISTRATIVE REMEDIES.

      The compassionate release statute provides, in pertinent part:

      The court may not modify a term of imprisonment once it has been
      imposed except that—
      (1) in any case—

2 BOP has exclusive authority to determine the location where an inmate serves
his or her custodial sentence, including whether transfer from a secure facility
to home confinement is more appropriate for a particular defendant. See Tapia
v. United States, 564 U.S. 319, 331 (2011) (“When a court sentences a federal
offender, the BOP has plenary control, subject to statutory constraints, over [the
place of imprisonment and treatment programs].”); United States v. Ceballos,
671 F.3d 852, 855 (9th Cir. 2011) (per curiam) (“The Bureau of Prisons has the
statutory authority to choose the locations where prisoners serve their
sentence.”); Reeb v. Thomas, 636 F.3d 1224, 1226 (9th Cir. 2011) (“Congress
delegated to the BOP the duty to manage and regulate all federal penal and
correctional institutions.”). Although this Court may make a non-binding
recommendation to BOP as to home confinement, BOP’s designation decision “is
not reviewable by any court.” 18 U.S.C. §§ 3621(b) & 3624(c); see, e.g., United
States v. Jones, No. CR 17-070 VC, Doc. 93 (N.D. Cal. Apr. 10, 2020) (denying
defendant’s motion for compassionate release but recommending BOP place
defendant in home confinement); United States v. Fobbs, No. 19-CR-410 WHA,
Doc. 32 (N.D. Cal. Apr. 7, 2020) (recommending BOP place defendant in home
confinement).

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      (A) the court, upon motion of the Director of the Bureau of Prisons,
      or upon motion of the defendant after the defendant has fully
      exhausted all administrative rights to appeal a failure of the Bureau
      of Prisons to bring a motion on the defendant’s behalf or the lapse
      of 30 days from the receipt of such a request by the warden of the
      defendant’s facility, whichever is earlier, may reduce the term of
      imprisonment . . . .

18 U.S.C. § 3582(c)(1)(A). This section “imposes a requirement on prisoners

before they may move on their own behalf: They must ‘fully exhaust[] all

administrative rights’ or they must wait for 30 days after the warden’s ‘receipt of

his request.’” United States v. Alam, No. 20-1298, 2020 WL 2845694 at *2 (6th

Cir. June 2, 2020) (citing 18 U.S.C. § 3582(c)(1)(A)). This is a mandatory claim-

processing rule and, “[b]ecause ‘Congress sets the rules’ when it comes to

statutory exhaustion requirements, the judiciary has a role to play in exception-

crafting ‘only if Congress wants [it] to.’” Id. at *3 (quoting Ross v. Blake, 136 S.

Ct. 1850, 1857, 195 L. Ed. 2d 117 (2016)). “Nothing in § 3582(c)(1)(A) suggests

the possibility of judge-made exceptions.” Id.

      The exhaustion requirement should be upheld, even in cases where a

defendant claims his health issues, the global pandemic, or both, compel a

different result.   United States v. McCloskey, No. 4:18-CR-260, 2020 WL

3078332, at *4 (S.D. Ga. June 9, 2020) (upholding exhaustion requirements

where defendant was 48 years old, suffered from Type 1 insulin-dependent

diabetes, had hypertension, and had survived a previous heart attack). “While

these health conditions are not trivial, they do not rise to the level of age and




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health conditions that have compelled courts to waive Section 3582(c)(1)(A)'s

exhaustion requirement.” Id.

      Other courts in this district have held that the 30-day waiting period before

judicial review of a motion is permitted under 18 U.S.C. § 3582(c)(1)(A) runs 30

days from the date the warden receives a defendant’s request. See, e.g., United

States v. Brunston, 4:18-CR-40145-KES, Doc. 68, at 4 (D.S.D. May 26, 2020).

Courts in other districts, however, have ruled otherwise. “[I]t does not matter

whether section 3582(c) is a jurisdictional statute or a non-jurisdictional claim-

processing statute, because its exhaustion requirement is clearly statutory and

therefore mandatory.” United States v. Ng Lap Seng, No. S5 15-CR-706 (VSB),

2020 WL 2301202, at *5 (S.D.N.Y. May 8, 2020).          “[W]hether the statute is

jurisdictional or a claim-processing rule, its exhaustion requirements are clearly

mandatory.” United States v. Ogarro, No. 18-CR-373-9 (RJS), 2020 WL 1876300,

at *3 (S.D.N.Y. Apr. 14, 2020)

      The Supreme Court has instructed that a mandatory exhaustion

requirement cannot be ignored, “even to take ‘special circumstances’ into

account.”   Ross, 136 S. Ct. 1850, 1853.        The COVID-19 pandemic, while

presenting urgent and serious concerns, does not allow this Court to circumvent

the statute’s administrative requirements.      Bypassing statutory exhaustion

requirements defies explicit Supreme Court precedent and would have lasting

impacts beyond the present pandemic. Numerous courts have recognized that

COVID-19 does not excuse the administrative requirements of 18 U.S.C. §


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3582(c)(1)(A). See, e.g., United States v. Reid, No. 17-cr-00175-CRB-1, Doc. 547

(N.D. Cal. Apr. 18, 2020) (holding the court lacked jurisdiction to review

defendant’s claim for compassionate release until administrative remedies were

exhausted); United States v. Fischman, No. 16-cr-00246-HSG-1, Doc. 68 (N.D.

Cal. Apr. 22, 2020) (holding motion in abeyance until 30 days elapsed after

inmate’s request to warden); United States v. Catledge, No. 12-cr-00678-MMC-

1, Doc. 433 (N.D. Cal. Apr. 16, 2020) (denying COVID-19-based compassionate-

release motion for lack of exhaustion); United States v. Hembry et al., No. 12-cr-

00119-SI-1, Doc. 1723 (N.D. Cal. Apr. 10, 2020) (same); United States v.

Eberhart, No. 13-CR-00313 PJH, Doc. 64, 2020 WL 1450745, at *2 (N.D. Cal.

Mar. 25, 2020) (same); United States v. Robinson, No. 18-CR-00597 RS, Doc. 29

(N.D. Cal. Mar. 24, 2020) (same). Although “it is indisputable that the COVID-

19 outbreak is unprecedented and poses a heightened risk to those in this

nation’s prisons and jails, [] absent congressional action to relieve inmates of the

exhaustion requirement [of Section 3582(c)(1)(A), this Court] is unable to provide

the relief Defendant seeks.” United States v. Holden, No. 3:13-CR-00444-BR,

2020 WL 1673440, at *10 (D. Or. Apr. 6, 2020).

      To exhaust administrative remedies, a defendant must initiate a request

in writing to the warden of his institution detailing “the extraordinary or

compelling circumstances that the inmate believes warrant consideration” and

the inmate’s “proposed release plans” with several necessary details. 28 C.F.R. §

571.61 (implementing Section 3582(c)(1)(A)).      BOP’s Program Statement sets


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forth procedures for implementing Section 3582 and states: “A request for a RIS

is considered ‘submitted’ for the purposes of 18 U.S.C. § 3582(c)(1), when

received   by   the   Warden     in   accordance   with   this   section.”   See

https://www.bop.gov/ policy/progstat/5050_050_EN.pdf. Defendant, through

counsel, submitted his request to the warden of FCI Englewood just ten days

ago, on July 21, 2020.       Doc. 395-1.    Based on the foregoing authority,

Defendant’s motion should be denied for failure to exhaust administrative

remedies. Alternatively, the United States asks the Court to hold the motion in

abeyance until 30 days have elapsed from the date Defendant submitted his

request to the warden of his facility.

II.   RELEASE IS NOT JUSTIFIED UNDER THE COMPASSIONATE RELEASE
      STATUTE, THE RELEVANT SENTENCING FACTORS, AND THE
      APPLICABLE UNITED STATES SENTENCING GUIDELINES.

      A. APPLICABLE LAW.

      Should the Court address the merits of Defendant’s motion, a sentence

reduction is nevertheless unwarranted under the compassionate release statute.

This Court may only reduce a sentence under 18 U.S.C. § 3582(c)(1)(A) if, “after

considering the factors set forth in section 3553(a) to the extent that they are

applicable,” the Court finds either “extraordinary and compelling reasons

warrant such a reduction,” or the defendant is at least 70 years old and has

served at least 30 years in prison, “and that such a reduction is consistent with

applicable policy statements issued by the Sentencing Commission.” (emphasis




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added).3 As the terminology in the statute makes clear, compassionate release

is “rare” and “extraordinary.” United States v. Willis, 2019 WL 2403192, at *3

(D.N.M. June 7, 2019) (citations omitted). Additionally, even if a defendant meets

all the criteria for compassionate release under Section 3582(c)(1)(A)(i), he

becomes merely eligible for a sentence modification, not entitled to one. The

Court must also consider the applicable § 3553(a) sentencing factors and United

States Sentencing Guideline (“USSG”) § 1B1.13(2).

      Defendant asserts that his health conditions, combined with the existence

of the COVID-19 pandemic, are “extraordinary and compelling” reasons to

reduce his sentence.      The Application Notes to United States Sentencing

Guideline (“USSG”) § 1B1.13 are the “applicable policy statements” referenced in

18 U.S.C. § 3582(c)(1).   There, the Sentencing Commission provided specific

examples of what constitutes an “extraordinary and compelling circumstance”:

      (A)   Medical Condition of the Defendant—
            (i)  The defendant is suffering from a terminal illness (i.e., a
                 serious and advanced illness with an end of life trajectory). A
                 specific prognosis of life expectancy (i.e., a probability of death
                 within a specific time period) is not required. Examples
                 include metastatic solid-tumor cancer, amyotrophic lateral
                 sclerosis (ALS), end-stage organ disease, and advanced
                 dementia.


3 Congress explicitly gave authority to the Sentencing Commission to further
describe what conduct would authorize a court to order a compassionate release.
Specifically, 28 U.S.C. § 994(t) states the Sentencing Commission “shall describe
what should be considered extraordinary and compelling reasons for sentence
reduction” under § 3582(c)(1)(A), “including the criteria to be applied and a list
of specific examples.” The statute also states “[r]ehabilitation of the defendant
alone shall not be considered an extraordinary and compelling reason.” 28 U.S.C.
§ 994(t).


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             (ii)   The defendant is—
                    (I)   suffering from a serious physical or medical condition,
                    (II)  suffering from a serious functional or cognitive
                          impairment, or
                    (III) experiencing deteriorating physical or mental health
                          because of the aging process,

      that substantially diminishes the ability of the defendant to provide self-
      care within the environment of a correctional facility and from which he or
      she is not expected to recover.

      ....

      (D)    Other Reasons.— As determined by the Director Bureau of Prisons,
             there exists in the defendant’s case an extraordinary and compelling
             reason other than, or in combination with, the reasons described in
             subdivisions (A) through (C).4

USSG § 1B1.13 cmt. n.1.

      The existence of the COVID-19 pandemic, which poses a general threat to

every non-immune person in the country, does not fall within the categories

described in USSG § 1B1.13, and therefore cannot by itself provide a basis for a

sentence reduction. “General concerns about possible exposure to COVID-19 do

not meet the criteria for extraordinary and compelling reasons for a reduction in

sentence set forth in the Sentencing Commission’s policy statement on



4 This final provision is often called the “catch-all” provision. One court in this
District recently discussed how the Sentencing Commission’s lack of quorum
since the First Step Act was passed arguably impacts whether the policy
statement at U.S.S.G. § 1B1.13 still applies. See United States v. Morehouse,
2020 WL 2836188, at *1 (D.S.D. June 1, 2020). Specifically, the court noted
that “‘several district courts have concluded that the discretion vested in the BOP
Director under the catch-all provision now belongs coextensively to federal
judges.’” Id. at 5 (quoting United States v. Condon, 2020 WL 2115807, at *3
(D.N.D. May 4, 2020) (additional citations omitted)). The government respectfully
submits that the statute’s plain language vests the authority to apply this “catch-
all” provision solely with the “Director of the Bureau of Prisons.”


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compassionate release, USSG §1B1.13.”        Eberhart, at *2.   The Third Circuit

echoed this principle with respect to an appeal by an inmate at heightened risk

for COVID-19 complications due to his age (68) and health conditions

(Parkinson’s disease, diabetes, and heart issues):

      We do not mean to minimize the risks that COVID-19 poses in the
      federal prison system, particularly for inmates like Raia. But the
      mere existence of COVID-19 in society and the possibility that it may
      spread to a particular prison alone cannot independently justify
      compassionate release, especially considering BOP’s statutory role,
      and its extensive and professional efforts to curtail the virus’s
      spread. See generally Federal Bureau of Prisons, COVID-19 Action
      Plan         (Mar.       13,         2020,         3:09           PM),
      https://www.bop.gov/resources/news/20200313_covid-19.jsp.

Raia, 954 F.3d at 957. Another court’s decision within this district relied on this

holding in Raia. United States v. Young Bird, 3:18-cr-30061-RAL, Doc. 188 at 8

(D.S.D. June 3, 2020). In Young Bird, the court concluded, “[T]here is still much

that is unknown about how this virus affects individuals, and this Court cannot

say to what extent [defendant’s] life is threatened by the existence of COVID-19.”

Id. at 8. The categories contemplated by USSG § 1B1.13 encompass specific

serious medical conditions afflicting an individual inmate, not generalized

threats to the entire population. Defendant bears the burden to show special

circumstances meeting the high bar set by Congress and the Sentencing

Commission for compassionate release to be granted.          See United States v.

Greenhut, 2020 WL 509385, at *1 (C.D. Cal. Jan. 31, 2020) (holding the

defendant bears the burden of establishing entitlement to sentencing reduction.




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      As discussed above, this Court generally may not reduce a defendant’s

sentence unless it finds the existence of “extraordinary and compelling reasons”

under 18 U.S.C. § 3582(c)(1)(A)(i) to justify the reduction.   As another court

within the District of South Dakota has recently held, the Defendant’s sentence

may also be reduced if he meets his burden under the “catch-all” provision in

USSG § 1B1.13 cmt. n.1(D).      The catch-all provision requires Defendant to

establish “extraordinary and compelling reason(s) other than, or in combination

with, the reasons described in subdivisions (A) through (C)”. See United States

v. Morehouse, Case No. 4:18-cr-40019-02-KES, Doc. 121 at 4-6 (D.S.D. June 1,

2020); USSG § 1B1.13 cmt. n.1(D); see also United States v. Brunston, 4:18-CR-

40145-KES, Doc. 68, at 6-7 (D.S.D. May 26, 2020) (Court considered whether

catch-all provision was met and concluded it was not).

      B. DEFENDANT’S OBESITY IS A SERIOUS PHYSICAL CONDITION,
         BUT HE REMAINS ABLE TO ENGAGE IN SELF-CARE AND SHOULD
         NOT BE RELEASED.

      Defendant claims he has several serious medical or physical conditions,

including hypertension, obesity, an enlarged heart, and bradycardia. Doc. 395

at 2. BOP Health Services provided a “Health Problems” summary document as

part of Defendant’s medical records which shows all Defendant’s medical

conditions. See Doc. 392 at 1-4, 40-41. Defendant’s current medical diagnoses

include hyperlipidemia, mixed; hypertension, benign essential; bradycardia

(described as “other cardiac dysrhythmia”), and obesity. Id. at 1-4, 10. Only one

of these conditions, obesity, is a condition recognized by the CDC as presenting


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any increased risk of complications should Defendant contract COVID-19.5

https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/groups-

at-higher-risk.html (last accessed July 31, 2020); see United States v.

Morehouse, 4:18-cr-40019-02-KES, Doc. 121 at 4-6 (D.S.D. June 1, 2020 (listing

the health conditions noted by the CDC as posing a particular risk of COVID-19

infection).

      In May 2020, the Department of Justice refined its position on

compassionate release motions, such that an inmate with a diagnosed medical

condition that the CDC has identified as a risk factor for COVID-19 is deemed to

have a qualifying “extraordinary and compelling” reason that may warrant

compassionate release if other requisite criteria are met. See, e.g., Williams v.

Wilson, No. 19-A1047, Reply in Support of Application for a Stay, at 18, n.4 (Sup.

Ct.) (filed June 4, 2020); United States v. Pabon, No. 17-CR-165, 2020 WL

2112265, at *3 (E.D. Pa. May 4, 2020) (noting and agreeing with Government’s

position). In the instant case, Defendant’s obesity qualifies as such a condition

under the Department’s internal guidance and the CDC’s list of qualifying

medical and health conditions, and therefore is an “extraordinary and compelling

reason” under USSG § 1B1.13(1)(A).




5 Defendant also experiences anxiety, low back pain, and other minor health
conditions. Doc. 392 at 10, 31.



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      Significantly, however, another court within this District recently

considered a defendant’s obesity and other health conditions, combined with the

crowded conditions inherent to incarceration and COVID-19 pandemic, in

denying the defendant’s motion for compassionate release.        United States v.

Saenz, 3:10-cr-30027-RAL, Doc. 192, at 11 (D.S.D. July 29, 2020). The court

wrote:

      It is true that the CDC has recognized that individuals suffering from
      obesity and who have a body mass index of 30 or higher have an
      increased risk of developing a severe illness if they contract COVID-
      19. The CDC however does not list any of Saenz’s other diagnosed
      ailments on its list of underlying medical conditions that place
      individuals at higher risk. Because COVID-19 is a new disease and
      so much is still unknown about how it affects individuals, this Court
      cannot say to what extent Saenz’s life is threatened by the existence
      of COVID-19 in FCI Fort Dix, especially considering the precautions
      put in place by the BOP to protect him and his fellow inmates. Id.

Id. (internal citation omitted). Like the inmate in the Saenz case, Defendant is

obese, as defined by the CDC. However, none of the Defendant’s other medical

or physical conditions are included on the CDC’s list of ailments that place

individuals at higher risk of health complications in the event they contract

COVID-19.     See    https://www.cdc.gov/coronavirus/2019-ncov/need-extra-

precautions/groups-at-higher-risk.html     (last   accessed   July   31,   2020).

Defendant’s hypertension, as opposed to pulmonary hypertension, is not a

“serious heart condition” that puts him at higher risk of developing serious

illness if he contracts COVID-19. “Serious heart conditions” include pulmonary

hypertension, but not general hypertension. Id.; United States v. Nelson, 2020



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WL 2309075, at *4 (W.D. Penn. May 8, 2020) (discussing the difference between

pulmonary hypertension and hypertension).

      Moreover,   Defendant’s     conditions   are   well-managed   through   oral

administration of over-the-counter medication. Doc. 392 at 8, 25, 31, 38, 47,

61; see also Morehouse, Doc. 121 at 6 (concluding “high bar necessary to warrant

a sentence reduction” was not met where inmate’s conditions were managed with

medication).   Defendant’s active prescriptions during the last calendar year

include Amlodipine (to control blood pressure), aspirin (same), atorvastatin (to

control cholesterol), buspirone (for anxiety), and carbamazepine (for low back

pain). Id. at 6, 8, 25, 47-48. He experiences no adverse side effects from his

atorvastatin or amlodipine.     Id. at 8.   Defendant’s Presentence Report (PSR)

shows his hypertension and hyperlipidemia existed when he was sentenced in

2010. PSR ¶ 36. Prior to his sentencing, Defendant’s prescribed medications

included Norvasc, Hydrodiuril, and Zocor. Id.

      Furthermore, Defendant is capable of, and has routinely engaged in,

strenuous exercise to control his weight. Defendant’s medical records show he

has no exercise restrictions.      Id. at 8 (indicating no exercise intolerance,

palpitations, or shortness of breath as of March 13, 2020).          Defendant’s

Individualized Reentry Plan indicates he regularly engages in strenuous

cardiovascular exercise, including spinning, calisthenics, walking, treadmill

exercise, yoga, and softball. Doc. 390-2 at 4-5. He has no work restrictions or

limitations at FCI Englewood and has been cleared to work in food service. Doc.


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392 at 111, 725, 726. Upon release, Defendant has indicated he intends to work

for a contracting company and will obtain medical care at an Indian Health

Services Hospital. Doc. 395-1 at 1. Defendant is well able to provide self-care

and has not given any indication his ability to do so has been “substantially

diminished” while incarcerated simply because he is obese. See, e.g., United

States v. Korn, 2020 WL 1808213 at *5 (W.D.N.Y. Apr. 9, 2020) (denying release

where defendant could walk with a cane, dress, bathe, eat and perform activities

of daily living, and thus whose ability to provide self-care in the correctional

environment was not substantially diminished).

      While potential exposure to COVID-19 is not something to take lightly, it

simply does not “warrant the release of every federal prisoner with health

conditions that make them more susceptible to the disease.” United States v.

Gold, 2020 WL 2197839, at *1 (N.D. Ill. May 6, 2020) (quoting United States v.

Miller, 2020 WL 2093370, at *2 (C.D. Ill. May 1, 2020)).            Defendant’s

circumstances, like those in the Saenz case, are such that, although he is obese,

nothing about his obesity, the pandemic, or the conditions of his confinement

have prevented him from engaging in self-care to manage his condition. To the

extent Defendant asserts he is unable to exercise self-care in the facility, his

assertion is speculative and appears to be based on the conditions of

confinement, rather than his condition or combination of conditions. Moreover,

there is no reason to believe Defendant’s obesity is a condition “from which he

… is not expected to recover.”    This is insufficient to justify compassionate


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release under USSG § 1B1.13, comment note (1)(A)(ii).        See Saenz, 3:10-cr-

30027-RAL, Doc. 192, at 10. Likewise, it fails to satisfy the “catch-all provision”

at USSG § 1B1.13 cmt. n.1(D).

      C. THE SECTION 3553(A) FACTORS AND USSG § 1B1.13(2) WEIGH
         AGAINST DEFENDANT’S RELEASE.

      The Court’s inquiry does not end at a determination that Defendant’s

obesity is a “serious physical condition” that constitutes an “extraordinary and

compelling reason” to reduce his sentence. Instead, Defendant’s motion must

be analyzed in conjunction with 18 U.S.C. § 3553(a) and USSG § 1B1.13(2). See

18 U.S.C. § 3582(c)(1).    The policy statement set forth at USSG § 1B1.13

instructs the Court’s analysis of a compassionate release motion. It prohibits

this Court from reducing a defendant’s sentence unless the Court determines

“the defendant is not a danger to the safety of any other person or to the

community, as provided in 18 U.S.C. § 3142(g).”6 Additionally, this Court must

consider the applicable Section 3553(a) factors as part of its analysis. See

§ 3582(c)(1)(A); United States v. Chambliss, 948 F.3d 691, 694 (5th Cir. 2020).

Defendant has failed to demonstrate he is not a danger to the safety of the




6  While district courts disagree about whether the First Step Act alters the
binding nature of USSG § 1B1.13, “the limited statutory exceptions to the
general rule of finality of judgment” counsels in favor of following the Sentencing
Commission’s guidance. Eberhart, at *2; see also United States v. Willingham,
CR113-010, 2019 WL 6733028, at *2 (S.D. Ga. Dec. 10, 2019) (collecting cases).
To date, at least one Court within the District of South Dakota has not aligned
itself with the Eberhart decision. See United States v. Morehouse, Case No. 4:18-
cr-40019-02-KES, Doc. 121 (D.S.D. June 1, 2020).


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community or otherwise deserves release under the § 3553(a) factors or USSG §

1B1.13(2).

      The nature and circumstances of Defendant’s crime belie his placement

into Criminal History Category I at the time of his sentencing. Defendant was

convicted of engaging Continuing Criminal Enterprise, in violation of 21 U.S.C.

§ 848(a) and 848(c), a Class A Felony. He was the organizer, supervisor, and

manager of an exceedingly sophisticated, highly organized cocaine trafficking

ring. PSR, at p. 3. Defendant’s drug trafficking enterprise spanned two decades,

beginning in approximately 1998 and continuing through the date of his

indictment, in 2008.    In 1998, Defendant began buying quarter pounds of

cocaine in Denver, Colorado, and distributing it on the Pine Ridge Reservation.

Doc. 240, at 1. By 2008, he was bringing three-quarters of a kilogram of cocaine

to the Pine Ridge Reservation with each trip he made, or that others made on his

behalf. Id. at 1-2.

      To insulate himself from the blatant nature of the criminal conduct,

Defendant generally used his brother and other recruits to transport the cocaine.

Id. at 2. Defendant recruited others to “break down” the cocaine into packets for

resale, and recruited still others to sell it for him. Id. Defendant’s criminal

enterprise continued for so long in part because he personally sold drugs only to

people he trusted, and had others conduct the large-scale distributing on his

behalf.   Doc. 240, at 3.   He treated his distributors poorly and kept them

dependent on him by paying them with very little money or just enough cocaine


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to stay high. PSR ¶ 10. To further protect himself, he employed family members,

including one of his brothers and the mother of five of his children. PSR ¶¶ 8,

10.   Defendant’s criminal sophistication and use of others to carry out the

riskiest parts of his drug trafficking ring speak to why he was not personally

arrested until 2008.

      For purposes of determining Defendant’s guidelines range, 16.9 kilograms

of cocaine were attributed to him, based on his role in the conspiracy. PSR at

¶ 12. Defendant agreed he was personally responsible for at least 15 kilograms

of cocaine. Id. For every ounce of cocaine he sold, he earned between $2,900

and $3,000, which means during the course of his criminal enterprise, Walking

Eagle’s approximate income was between $1,534,100 and $1,587,000.           Doc.

240, at 3. At the time of his sentencing, Defendant had spent only five months

of his thirty-seven years of life gainfully and legally employed.    PSR ¶ 39.

Moreover, because Defendant’s financial straits were the stated impetus for his

crime, PSR ¶ 15, he remains at risk to reoffend if he is released. He is only 47

years old. He remains a danger to public safety and a risk to reoffend.

      Defendant has demonstrated almost no remorse and very little insight

regarding the effect his conduct has had on his community, other than to agree

with the factual basis statement he signed and apologize to his family. PSR ¶ 15;

Doc. 310 at 12-13. The negative impact of Defendant’s criminal conduct upon

the residents of the Pine Ridge Reservation and the District of South Dakota

cannot be overstated.     As the prosecuting attorney stated at Defendant’s


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sentencing, “[w]e will never know the full cost.”     Doc. 310 at 21.     As the

sentencing court remarked, “…think about all of the other families that were

affected by that huge quantity of cocaine that was coming into Pine Ridge.” Id.

at 25.

         In addition to the foregoing, a thorough consideration of the § 3553(a)

factors strongly disfavor a sentence reduction. Acting as the ringleader of an

ongoing criminal enterprise to distribute kilos of cocaine is a serious crime. The

nature and circumstances of Defendant’s conduct do not warrant an additional

reduction.     The sentence Defendant received was appropriate for the crime

committed, and he has served just 58.8% of his sentence, which was the

mandatory minimum sentence he faced. His crime is categorized as a Class A

felony, the most serious felony classification.     Defendant’s plea agreement

reduced his exposure to twenty years from a potential life sentence, and to one

felony conviction, rather than potentially twelve felony convictions. Reducing

Defendant’s sentence to time served would fail to deter similar conduct, and

would create a substantial and unwarranted sentencing disparity among

similarly-situated defendants. Accordingly, in light of Defendant’s crime and the

totality of relevant circumstances, even if this Court finds compelling or

extraordinary circumstances justifying Defendant’s early release, based on his

obesity, this Court should deny the motion for a sentence reduction based upon

consideration of the § 3553(a) factors and USSG § 1B1.13(2).




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       III.   BOP HAS TAKEN SIGNIFICANT MEASURES TO KEEP
              DEFENDANT AND OTHER SIMILARLY-SITUATED INMATES
              SAFE.

       Defendant has not addressed how BOP’s pandemic protocols are

insufficient in light of his obesity. Although there are risks in an institutional

setting, BOP has taken significant measures to protect the health of inmates in

its charge. BOP has had a Pandemic Influenza Plan in place since 2012. BOP

Health Services Division, Pandemic Influenza Plan-Module 1: Surveillance and

Infection           Control      (Oct.         2012),         available         at

https://www.bop.gov/resources/pdfs/pan_flu_module_1.pdf.         (last    accessed

July 31, 2020). That protocol is lengthy and detailed, establishing a six-phase

framework requiring BOP facilities to begin preparations when there is first a

“[s]uspected human outbreak overseas.” Id. at i. The plan addresses social

distancing, hygienic and cleaning protocols, and the quarantining and treatment

of symptomatic inmates. Consistent with that plan, BOP began planning for

potential coronavirus transmissions in January.         At that time, the agency

established a working group to develop policies in consultation with subject

matter experts in the Centers for Disease Control, including by reviewing

guidance from the World Health Organization. On March 13, 2020, BOP began

to modify its operations, in accordance with its Coronavirus (COVID-19) Action

Plan (“Action Plan”), to minimize the risk of COVID-19 transmission into and

inside its facilities.




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      Since that time, as events require, BOP has repeatedly revised the Action

Plan to address the crisis.      For example, beginning April 1, 2020, BOP

implemented Phase Five of the Action Plan, and on April 13, 2020, BOP

implemented Phase Six, which currently governs operations. The Action Plan

requires that all inmates in every BOP institution be secured in their assigned

cells/quarters for a period of at least 14 days, in order to stop any spread of the

disease.    Only limited group gathering is afforded, with attention to social

distancing to the extent possible, to facilitate commissary, laundry, showers,

telephone, and computer access.        Further, BOP has severely limited the

movement of inmates and detainees among its facilities. Though there will be

exceptions for medical treatment and similar exigencies, this step as well will

limit transmissions of the disease. Likewise, all official staff travel has been

cancelled, as has most staff training. All staff and inmates have been and will

continue to be issued face masks and strongly encouraged to wear an

appropriate face covering when in public areas when social distancing cannot be

achieved.

      The Action Plan comprises of several additional preventive and mitigation

measures, including suspension of social visitation, internal inmate movements,

legal visits, official staff travel, training, access by volunteers and many

contractors; extensive screening of staff and inmates (including screening of all

new inmates); quarantine; and modified operations to maximize social distancing

as much as practicable.     See Federal Bureau of Prisons, BOP Implementing


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Modified                   Operations,              available                at

https://www.bop.gov/coronavirus/covid19_status.jsp (last accessed July 31,

2020). All new BOP inmates are screened for COVID-19 symptoms and risk of

exposure. Asymptomatic inmates with a documented risk of exposure will be

quarantined; symptomatic inmates with documented risk of exposure will be

isolated and tested pursuant to local health authority protocols. In areas with

sustained community transmission, all facility staff will be screened for self-

reported risk factors and elevated temperatures. Further details and updates of

BOP’s modified operations are available to the public on the BOP website at a

regularly updated resource page: www.bop.gov/coronavirus/index.jsp (last

accessed July 31, 2020).

      Even though the CDC acknowledges certain medical conditions pose an

increased risk factor for COVID-19 complications, courts have held that “the

mere possibility of contracting a communicable disease such as COVID-19,

without any showing that the Bureau of Prisons will not or cannot guard against

or treat such a disease, does not constitute an extraordinary or compelling

reason for a sentence reduction under the statutory scheme. Korn, 2020 WL

1808213 at *5-6 (emphasis in original) (citing Raia, 2020 WL 1647922 at *2);

Eberhart, at *2; United States v. Zywotko, Case No. 2:19-cr-113-FtM-60NPM,

2020 WL 1492900 (M.D. Fla. Mar. 27, 2020); United States v. Gileno, No. 3:19-

CR-161-(VAB)-1, 2020 WL 1307108, at *4 (D. Conn. Mar. 19, 2020) (“‘Mr. Gileno

has also not shown that the plan proposed by the Bureau of prisons is


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inadequate to manage the pandemic within Mr. Gileno’s correctional facility, or

that the facility is specifically unable to adequately treat Mr. Gileno.’”); United

States v. Clark, 17-85-SDD-RLB, 2020 WL 1557397, at *5 (M.D. La. Apr. 1, 2020)

(“applying reasoning of Gileno and Eberhart); United States v. Gagne, no. 3:18-

cr-242 (VLB), 2020 WL 1640152, at *4 (D. Conn. Apr. 2,            2020) (“denying

compassionate release where the defendant failed to show ‘that the [Bureau of

Prisons] cannot adequately manage the [COVID-19] pandemic or treat her to a

reasonable degree’”)).

      Like Saenz and Korn, Defendant cannot show the possibility of contracting

COVID-19 in connection with his obesity and other health issues are

extraordinary or compelling reasons to grant release, given Defendant has failed

to show that the BOP “will not or cannot guard against or treat such a disease.”

Defendant is only 47.    He has not been placed at a medical facility, further

indicating his physical condition is well-managed and not severe.         See also

United States v. Godofsky, 2020 WL 2188047, at *2 (E.D. Ky. May 6, 2020)

(denying release for 63 year-old inmate with high blood pressure, high

cholesterol, asthma, and taking medication that weakened his immunity system,

finding that “even in the context of the ongoing public health crisis,” inmate’s

circumstances do not present an extraordinary or compelling circumstance);

United States v. Fry, 2020 WL 1923218 (D. Minn. Apr. 21, 2020) (denying

compassionate release for 66-year-old man who is obese and has heart disease




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and high blood pressure, requiring inmate to show “more than a mere

speculation of the possibility of contracting the virus.”).

        BOP is making continued efforts to work to contain the virus. Courts have

generally recognized that “it is a rare case in which health conditions present an

‘exceptional reason’” to allow for release where detention would otherwise be

warranted. See, e.g., United States v. Wages, 271 F. App’x 726, 728 (10th Cir.

2008) (collecting pre-trial detention cases). Despite the severity of the COVID-

19 pandemic, Defendant’s situation is not one of those rare cases.

        IV.   IF THE COURT REDUCES DEFENDANT’S SENTENCE, IT
              SHOULD DO SO WITH STRICT AND SPECIFIC LIMITATIONS.

        If the Court is inclined to grant Defendant’s motion for compassionate

release, the United States respectfully urges the Court to substitute a term of

supervised release with a condition of home confinement for the duration of

Defendant’s current sentence of imprisonment. The government submits that

releasing Defendant outright would not appropriately re-balance the § 3553

factors of this case, particularly given that the present conditions caused by the

pandemic are likely impermanent—public reporting indicates that various

medical professionals globally are in the process of developing a vaccine and

researching other methods of combatting the disease in the coming months. See,

e.g.,         https://www.nih.gov/news-events/news-releases/nih-clinical-trial-

investigational-vaccine-covid-19-begins (last accessed June 8, 2020). Moreover,

there is no indication Defendant’s obesity is permanent. In order to minimize



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risks to public health, the government also respectfully requests that if the Court

orders release, (1) any order grant Defendant’s release only after his release and

travel plans are in place, and (2) set any release 14 days from the date of its order

to accommodate BOP’s ability to quarantine Defendant prior to his release to

protect the community from potential further spread.

                                  CONCLUSION

      Based upon the foregoing argument and authority, Defendant’s motion for

compassionate release should be denied.

      Respectfully submitted this 31st day of July, 2020.

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